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lNEEI-H§UN!TEQ`»§IAH`YS DISTRICT COURT
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UNITED STATES OF §.`MERIC ~

CRIMINAL No. §§ 151 K/ (Q¢(@ §

v. (Conspiracy to Commit Wire Fraud
. (18 U.S.C. §1349); Wire Fraud (18
KEVIN B. MERRILL, U.S.C. § 1343); Identity Theft (18
JAY B. LEDFORD, U.S.C. § 1028A); Money-Laundering
CAMERON R. JEZIERSKI, Conspiracy (18 U.S.C. § 1956(h));
Defendants. ` Financial Transactions ()ver $19,000

in Criminally Derived Property (]8
U.S.C. § 1957(:1); Forfeiture).

UNDER SEAL

 

 

INDICTMENT
Consl)iracv to Commit Wire Fraud
The Grand Jury l"or the Distriot of Maryland`charges:
COUNT ONE
l. At all times material to this Indictment, KEVIN B. MERRILL ("MERRILL")
lived in Maryland. k n
2. At all times material to this lndictment, JAY B. LEDFORD ("LEI)FORD")
lived in Texas and Nevada and operated, among other companies, Riverwalk Financial
Corporation at Riverw_alk Finaneial HQ, 1132 Glade `Road Colleyville, Texas 76034, and
Ledford and Associates, PLLC, an accounting tirm, at 2801 Paramount Boulevard, Amarillo,
Texas 79109.
3. At times material to this lndictment, CAMERON R. JEZIERSKI

("JEZIERSKI") lived in Texas.

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4 . At times material to this Indictment, MERRILI.. controlled, among others, bank

accounts at the following financial institutions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Account Name Bank Last 4 Digits of
Account Number
Delmarva Capital Wells Fargo ***3493
Global Credit Recovery, LLC PNC Bank * **4768
Global Credit Recovery, LLC (General Trust) PNC Bank ***4776
Global Credit Recovery, LLC ' BB&T ** *0636
Global Credit Recovery, LLC Wells Fargo ***7823
Global Credit Recovery, LLC Eagle Bank ***8673
Global Mercer Holdings LLC PNC Bank ***5449
K. B. Merrill Associates LLC Wells Fargo ** * 8356
Rhino Capital Holdings LLC PNC Bank ***2822
5. At times material to this Indictment, LEDFORD controlled, among others, bank

accounts at the following financial institutions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Account Name Bank Last 4 Digits of

Account Number

De Ville Asset Managernent Limited Bank of America ***2485 & ***2472

De Ville Asset Management Limited Bank of the West ** *6495

De Ville Asset Management Limitecl BB&T * * * 8410

De Ville Asset Management Limited Citibank ***4664

De Ville Asset Management Limited JPMorgan Chase ***8063

Receivables Portfolio lntercha.nge Inc. Bank of America ***2401

Riverwalk Debt Solutions, Inc. BB&T ***037]

Riverwalk Debt Solutions, Inc. Citibank * * * 5324

Riverwalk Financial Corporation Bank of America * * *8932 & * * *895 8

IBL Holdings LLC Bank of America * **2414

JBL I-Ioldings LLC BB&T * * *0401

JBL Holdings LLC Citibank * * *5340

JBL Holdings LLC JPMC * * *0482

 

 

 

 

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6. At all times material to this Indictment, consumers in the United States had
outstanding debts to consumer lenders, including to credit card issuers, such as banks, to car and
truck finance companies, to retail companies, and to student loan lenders. From time to time,
consumer lenders sold to third parties, either directly or through brokers, portfolios of consumer
debt ("consumer debt portfolios"); the consumer debt portfolios Were typically identified by the
total number of consumer accounts, the face value of the total indebtedness, and the consumer
lender.

THE SCHEME TO DEFRAUD
7. From in and around January 2013 and continuing until the present, in the District
of Maryland and elsewhere, the defendants,
KEVIN B. MERRILL
J_AY B. LEDFORD,
CAMERON R. JEZIERSKI,
and others known and unknown to the Grand Jury, knowingly and Willfillly devised and intended
to devise a scheme and artifice to defraud investors in consumer debt portfolios of more than
$364 million and to obtain money and property in excess of $364 million from investors in
consumer debt portfolios by means of materially false and fraudulent pretenses, representations
and promises ("the scheme to defraud"), in that MERRILL, LEDFORD and JEZIERSKI:

a. purported to invest in consumer debt portfolios and offer to potential investors
opportunities to invest with them, when in fact, MERRILL, LEDFORD and .]EZIERSKI in

_ emails, by telephone, and in promotional materials falsified the actual seller of the consumer debt
portfolio, the actual purchase price of the consumer debt portfolio from the seller, the nature and
fact of MERRILL and/or LEDFORD’s participation in the transaction, and at times created
fictitious transactions;

b. purported to sell or "flip" the consumer debt portfolios to independent, third party
3

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buyers for a profit, when in fact there were no sales to independent third party buyers;

c. purported to "collect" consumer debt payments on the portfolios, when in fact,
MERRILL, LEDFORD and JEZIERSKI inflated or invented the collection reports they
provided to investors;

d. purported to pay profits to investors from successful "flips" or collections from
consumer payments on the debt portfolios, when in fact, MERRILL, LEDFORD and
JEZIERSKI used money from investors to pay purported profits and/or collections to investors,
including using re-investments from investors to fund payments to them of their purported
profits and/or collections; and

e. purported to provide third party documentation to the investors of their actions,
when in fact MERRILL, LEDFORD and .]EZIERSKI created imposter companies and their
bank accounts, shell companies and their bank accounts, falsified bank wire transfer records and
bank statements, created false consumer debt portfolio overvievvs and sales agreements, and
created false collection reports; and undertook all these fraudulent actions while MERRILL,
LEDFORD and JEZIERSK_I personally enriched themselves and concealed their diversion of
over $73 million of investors' monies to purchase luxury automobiles, purchase and/or renovate
high end houses in Maryland, Texas, Nevada, and Florida, buy a boat, watches, jewelry, and
collectibles, acquire a share in ajet p.lane, gamble at casinos, and support a lavish lifestyle.

THE CoNsPIRAcY CHARGE

8. From in and around January 2013 through the present, in the District of Maryland

and elsewhere, the defendants
KEVIN B. MERRILL

.lAY fB. LEDFORD, and
CAMERO.N R. JEZIERSKI

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did knowingly and willfully conspire, combine, confederate, and agree with each other and with
other persons known and unknown to the Grand Jury, to commit wire fraud, that is to knowingly
execute and attempt to execute the scheme to defraud through the use of interstate wires in

violation of Title 18, United States Code, Section 1343.

THE PURPOSE OF THE CONSPIRACY AND SCHEME TO DEFRAUD

9. The purpose of the conspiracy and scheme to defraud was for MERRILL,
LEDFORD, and JEZIERSKI, the co-schemers and co-conspirators, to persuade, and attempt to
persuade, investors to use interstate wire transfers to send in excess of $364 million to bank
accounts controlled by MERRILL, LEDFORD and .]EZIERSKI for the purpose of investing
in consumer debt portfolios and purported consumer debt portfolios so that MERRILL,
LEDFORD and JEZIERSKI could use the invested monies to fund purported collection
payments or purported proceeds from "flips" to entice continued investor participation and
recruitment of new investors all while MERRILL, LEDFORD and .]EZIERSKI instead used
those monies to pay expenses of the scheme to defraud and diverted monies for their personal

benefit.

MANNER AND MEANS OF THE CONSPIRACY and SCHEME TO DEFRAUD

10. It was a part of the conspiracy and scheme to defraud that MERRILL and
LEDFORD represented to investors and potential investors that MERRILL and LEDFORD
were investing their funds in consumer debt portfolios, to be purchased directly from consumer
lenders, and invited the investors and potential investors to invest funds alongside MERRILL
and LEDFORD's fimds, when in fact, MERRILL and LEDFORD often made no investment in

the portfolios or faked their investment in the portfolios.

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ll. lt was a part of the conspiracy and scheme to defraud that LEDFORD
incorporated and controlled Receivables Portfolio lnterchange, Inc., which MERRILL and
LEDFORD held out to investors and prospective investors as an unaffiliated third-party seller of
consumer debt portfolios.

12. It was a part of the conspiracy and scheme to defraud that MERRILL and
LEDFORD represented to investors and potential investors a purported purchase price for
consumer debt portfolio purchases which was either an inflated price or a made up price for a
fictitious transaction

13.' lt was a part of the conspiracy and scheme to defraud that MERRILL and
LEDFORD falsified the purchase prices on consumer debt portfolio purchase agreements
between their companies and consumer lenders and furnished the falsified documents to
investors and potential investors as though the agreements were genuine.

14. lt was a part of the conspiracy and scheme to defraud that MERRILL and
LEDFORD at times created a fictitious asset purchase agreement between a company they
controlled and an actual consumer lender and invited investors and potential investors to invest
in a non-existent transaction

15. lt Was a part of the conspiracy and scheme to defraud that MERRILL and
LEDFORD used the identity of an officer or employee of a consumer lender on the fictitious
asset purchase agreement and forged the bank officer/employee's signature on the agreement to
lend credibility to the false document and the fraudulent transaction

16. lt was a part of the conspiracy and scheme to defraud that MERRILL and
LEDFORD falsely represented to investors'and potential investors that often within 90 days,
consumer debt portfolios purchased by investors would be, and were, “flipped" or sold to new,

. third party buyers for a profit.

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17. lt was a part of the conspiracy and scheme to defraud that MERRILL and
LEDFORD used the interstate banking system to wire transfer funds to investors which they
falsely represented to be the profits from their sales of the investors‘ portfolios to new, third party
buyers; in fact, MERRILL and LEDFORD funded the Wire transfers through new investors'
monies or by persuading old investors to re-invest.

18. v lt was a part of the conspiracy and Scheme to defraud that MERRILL and
LEDFORD used the interstate banking system to wire transfer funds to investors which they
falsely represented to be the results of collections on the investors' portfolios',‘ in fact, MERRILL
and LEDFORD funded the wire transfers through new investors' monies, by persuading old
investors to re-invest, and through collections which were far smaller than MERRILL and
LEDFORD represented

` 19. lt was a part of the conspiracy and scheme to defraud that MERRILL and
LEDFORD communicated with each other and with investors and potential investors through
interstate wire communications including email, text messages, and telephone calls.

20. lt was a part of the conspiracy and scheme to defraud that MERRILL and
LEDFORD operated, and JEZIERSKI managed, collections centers at 1601 West Airport
Freeway, Euless, Texas and 9151 Boulevard 26, North Richland Hills, Texas, to collect on some
of the consumer debt portfolios they acquired; MERRILL, LEDFORD and .]EZIERSKI
toured the collections centers with investors and potential investors to lend credibility to their
operations; in fact, MERRILL and LEDFORD used any funds received from collections to
fund the cash needs of the scheme to defraud, and MERRILL, LEDFORD and .]`EZIERSKI
routinely inflated or invented collection reports.

. 21. lt was a part of the conspiracy and scheme to defraud that MERRILL and

LEDFORD caused J`EZIERSKI to incorporate two companies in Texas, namely SCUSA
7 .

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Financial, lnc., and NLEX, lnc., which companies were used as imposters for the consumer
lender Santander Consumer USA, lnc., which uses the acronym “SCUSA," and the consumer
debt portfolio broker, National Loan Exchange lnc., Which uses the acronym "NLEX."

22. lt was a part of the conspiracy and scheme to defraud that MERRILL and `
LEDFORD caused JEZIERSKI to open a bank account at JP Morgan Chase, Richland Hills,
Texas, ending in ***9592, in the name of the imposter company, SCUSA Financial, and a bank
account ending in ***8330 at JP l\/lorgan Chase, North Richland Hills, Texas, in the name of the
imposter company, NLEX, so that when LEDFORD and MERRILL directed investors to send
funds to the imposter bank accounts, the wiring instructions fostered a belief in the investors that
their funds had purchased consumer debt portfolios directly froml a true lender or broker, but
LEDFORD, MERRILL and .]EZIERSKI in fact controlled the funds.

‘23. lt was a part of the conspiracy and scheme to defraud that .]EZIERSKI, at the
direction of MERRILL and LEDFORD, immediately transferred investors' funds from the bank
accounts of the imposter companies to bank accounts controlled by MERRILL and LEDFORD.

24. lt was a part of the conspiracy and scheme to defraud that MERRILL and

LEDFORD diverted investors’ funds to their personal benefit to fund lavish lifestyles and the

purchase of
a. y over 20 high end automobiles;
b. at least nine (9) real estate purchases and/or renovations, including

l. 1848 Circle Road, Towson, MD 21204;
2. 1055 Spyglass Lane, Naples, FL 34102;
3. 27776 Sharp Road, Easton, MD 21601;
4.1531 trampth Lane, rowson, Mr) 21204-,

5. 3018 Susanne Court, Owings Mills, l\/ID 21117;
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6. 1718 Greenspring Valley Road, Stevenson, MD 21153;
7. 9017 Grove Crest Lane, Las Vegas, NV 89134;
8. 1132 Glade Road, Colleyville, TX 76034', and
9. 1650 Cedar Hill Dallas, TX 75208
c. over $8.3 million in watches, jewelry, and collectibles; and

d. over $25 million in casino gambling

is U.s.C. §1349

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coUNT Two
Wire Fraud

The Grand Jury for the District of Maryland further charges:

l. The allegations of Count One, Paragraphs 1-7 and 9-24 are incorporated by
reference

2. On or about December 6, 2017, MERRILL emailed the representative of a
prospective investor group ("lnvestor Group #1") and falsely represented that Global Credit
Recovery Was awarded the bid by Santander to purchase a $316 million Santander debt file for
$lS.S million, more or less. GCR Mercer Holdings LLC, which was controlled by MERRILL,
was to take title to the Santander file; closing was represented to occur on December 27, 2017.

3. On or about December 25, 2017, LEDFORD emailed a Riverwalk Financial
Corporation employee with instructions to create a debt portfolio with 33,881 accounts and a
principal value of $315,917,096.04 from four portfolios that DeVille Asset Management Limited
had acquired or would acquire from Santander

4. On or about December 26, 2017, MERRILL emailed lnvestor Group #l a link to
a purported Purchase Sales Agreement (PSA) between Santander and GCR Mercer Holdings,
LLC.

5. On or about December 27, 2017, LEDFORD emailed MERRILL the signature
page from the purported Purchase Sales Agreement between Santander and GCR Mercer
Holdings, LLC, which bore the forged signature of an actual Santander employee S.B.

6. On or about December 27, 2017, Mli]RRILlJ signed the fraudulent Purchase
Sales Agreement that contained the forged signature of S.B. and emailed it back to LEDFORD.

7. lnvestor Group #1 agreed to fund 90 % of the purported acquisition of the $316
million debt file from Santander, namely $14,216,269.32, while MERRILL falsely claimed that

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he would fund the remaining 10% of the transaction or $1,579,585.48, through Delmarva
Capital.

8. On or about April 23, 2018, LEDFORD sent an email to MERRILL and to an
investor representative for lnvestor Group #1 which attached multiple Portfolio Sales
Agreements including the fraudulently created $316 million Santander debt portfolio purchase
but with the forged signature redacted

THE CHARGE
9. On or about December 28, 2017, in the District of Maryland, the defendants,
KEVIN B. MERRILL
JAY B. LEDFORD and
CAMERON R. JEZIERSIG,
for the purpose of executing the scheme and artifice to defraud, caused to be transmitted in
interstate commerce, writings, signs and symbols, namely a wire transfer of investor funds
totaling $14,216,269.32 from lnvestor Group #l's account at Texas Capital Bank, N.Aij Dallas,

Texas, to MERRILL’s Global Mercer Holdings, LLC's account ending in ***5449 at PNC

Bank, Towson, Maryland.

18 U.s.c. § 1343

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COUNT THREE
Wire Fraud
The Grand Jury for the District of Maryland further charges:
1. The allegations of Count`One, Paragraphs 1-7 and 9-24 are incorporate:d by
reference.
2. The allegations of Count Two, Paragraphs 1-8 are incorporated by reference
3. On or about December 28, 2017, in the District of Maryland, the defendants,
KEVIN B. MERRILL
JAY B. LEDFORD, and
CAMERON R. JEZIERSKI
for the purpose of` executing the scheme and artifice to defraud, transmitted and caused to be
transmitted in interstate commerce, writings, signs and symbols, namely a wire transfer of
315,795,854.80 from MERRILL’s Global Mercer Holdings LLC's bank account ending in
***5449 at PNC Bank, Towson, Maryland to JEZIERSKI’s imposter SCU.SA Financial, Inc.,
bank account ending in ***9592 at JPMorgan Chase, North Richland Hills, Texas, which wire

transfer included $14,216,269.32 from lnvestor Group #l and what purported to be MERRILL's

10% share of the investment, that is, $1,579,585.48.

18 U.S.C. § 1343

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COUNT FDUR
Wire Fraud

The Grand Iury for the District of Maryland further charges:

l. The allegations of Count One, Paragraphs 1-7 and 9-24 are incorporated by
reference

2. The allegations of Count Two, Paragraphs 1-8 are incorporated by reference

3. On or about December 29, 2017, in the District of Maryland, the defendants,

KEVIN B. MERRILL and
JAY B. LEDFORD

for the purpose of executing the scheme and artifice to defraud, transmitted and caused to be
transmitted in interstate commerce, writings, signs and symbols, namely a wire transfer of
$1,579,585.48 from LEDFORD’s De Ville Asset l\/lanagement Limited account ending in
***2485 at Bank of America, Colleyville, Texas, to MERRILL’s Delmarva Capital account at
Wells Fargo Bank ending in ***3493 in Lutherville, Maryland, for the purpose of returning
MERRILL's "show money"-- that is, MERRILL's purported 10% investment in the Santander

$316 million portfolio.

13 U.s.C. § 1343

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COUNT FIVE
Wire Fraud _
The Grand Jury for the District of Maryland further charges:
1. The allegations of Count One, Paragraphs 1-7 and 9-24 are incorporated by
reference.
2. The allegations of Count Two, Paragraphs 1-8 are incorporated by reference.
3. On or about December 29, 2017, in the District of Maryland, the defendants,

KEvIN B. MERRILL and
JAY B. LEnFoRI)

for the purpose of executing the scheme and artifice to defraud, transmitted and caused to be
transmitted in interstate commerce, writings, signs and symbols, namely a wire transfer of
$612,133.46, which was funded by the investor funds described in Count Two, from
LEDFORD’s De Ville Asset Management Limited account ending in ***2485 at Bank of
America in Colleyville, Texas, to MERRILL’s Global Credit Recovery, LLC's account ending

in ***8673 at Eagle Bank, Bethesda, l\/laryland.

18 U.s.C. § 1343

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COUNT SIX
Wire Fraud
The Grand Jury for the District of Maryland further charges:

1. The allegations of Count One, Paragraphs 1-7 and 9-24 are incorporated by
reference.

2. ln and around December 2017, LEDFORD and JEZIERSKI acquired a $33
million in face value consumer debt portfolio of BBVA Compass Bank through National Loan
Exchange, Inc. for $1.69 million.

3. On or about January 5, 2018, LEDFORD emailed MERRILL, who forwarded
the email to the representative of lnvestor Group #1; the email and its attachments falsely
represented that the $33 million BBVA Compass Bank consumer debt portfolio was being
offered for the purchase price of S2.7 million and that closing was scheduled for January 18,
2018.

4. On or about January 11, 2018, LEDFORD emailed MERRILL, who forwarded
the email to the representative of Investor Group #1, a document which purported to be a draft
Purchase Sales Agreement between BBVA Compass Bank and GCR Mercer Holdings LLC.

5. On or about January 23, 2018, LEDFORD emailed MERRILL a “BBVA PSA
ready for GCR signature.” The attachment to the email was a Purchase Sales Agreement, which
used the inflated purchase price of $2.7 million and contained the forged signature of BBVA
Compass Bank officer and employee, P.G. l

6. On or about January 26, 2018, MERRILL emailed a representative of Investor
Group #1 “New deal executed PSAs” for the 333 million BBVA Compass Bank consumer debt
portfolio with an attachment titled “2018_01_24_13_50_12.pdf,” which again used the false
purchase price of $2.7 million and the forged signature of BBVA Compass Bank officer and

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employee P.G, as well`as MERRILL’s signature as a representative of GCR Mercer Holdings,
LLC.

7. ln and around January 2018, MERRILL emailed a representative of lnvestor
Group #1 an Asset Purchase Overview for a $91 million Alta student loan debt file which was
available for $8,002,809.79 and was being “purchased directly from the original issuers." ln fact,
l LEDFORD and JEZIERSKI had created the $91 million Alta student loan debt file from
previously purchased debt portfolios and added the forged signature of Alta College's_officer and
employee, N.B.

8. MERRILL falsely represented to lnvestor Group #1 that through Rhino Capital,
MERRILL intended to supply 10% of the funds to purchase both the $33 million BBVA
Compass Bank portfolio and the $91 million Alta student loan debt portfolio.

9. lnvestor Group #l agreed to fund a portion of the purported acquisition of both
the $33 million BBVA Compass Bank and the $91 million Alta student loan debt portfolios.

THE CHARGE ' l
10. On or about January 24, 2018, in the District of Maryland, the defendants,
KEVIN B. MERRILL
JAY B. LEDFORD, and
CAMERON R. JEZIERSK_I

for the purpose of executing the scheme and artifice to defraud, caused to be transmitted in
interstate commerce, writings, signs and symbols, namely a wire transfer of investor funds in the
amount of $9,644,552.00 from lnvestor Group #l's account at UBS Financial Services, .lersey
City, New Jersey, to MERRILL’s GCR Mercer Holdings LLC's account ending in ***5449 at
PNC Bank, Towson, Maryland.

18 U.S.C. § 1343

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COUNT SEVEN
Wire Fraud

The Grand lury for the District of Maryland further charges:

1. The allegations of Count One, Paragraphs 1-7 and 9-24 are incorporated by
reference

2. The allegations of Count Six, Paragraphs 1-9 are incorporated by reference.

3. On or about January 25, 2018, in the District of Maryland, the defendants,

KEVIN B. MERRILL
JAY B. LEDFORD, and
CAMERON R. JEZIERSKI

for the purpose of executing the scheme and artifice to defraud, caused to be transmitted in
interstate commerce, writings, signs and symbols, namely a wire transfer from MERRILL’s
GCR Mercer Holdings LLC‘s account ***5449 at PNC Bank, Towson, Maryland of investor

funds in the amount of $8,002,809.79 to JEZIERSKI's imposter NLEX, Inc. account ending in

***8330 at JPMorgan lChase Bank, North Richland l-lills, Texas.

18 U.S.C. § 1343

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COUNT EIGHT
Wire Fraud

The Grand lury for the District of Maryland further charges:

1. The allegations of Count One, Paragraphs 1-7 and 9-24 are incorporated by
reference
2. The allegations of Count Six, Paragraphs 1 - 9 are incorporated by reference

3. On or about January 25, 2018, in the District of Maryland, the defendants,
KEVIN B. MERRILL
JAY B. LEDFORD, and
CAMERON R. JEZIERSKI,
for the purpose of executing the scheme and artifice to defraud, caused to be transmitted in
interstate commerce, writings, signs and symbols, namely a wire transfer from MERRILL’s
GCR Mercer Holdings LLC's account ending in ***5449 at PNC Bank, Towson, Maryland of
investor funds in the amount of 82,713,358.74 to JEZIERSKI's imposter NLEX, lnc., account

ending in ***8330 at JPMorgan Chase Bank, North Richland Hills, Texas.

18 U.S.C. § 1343

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COUNT NINE

Identi_tz Theft
The Grand lury for the District of Maryland further charges:

1. The allegations of Count One, Paragraphs 1-7 and 9~24 are incorporated by reference

2. The allegations of Count Six, Paragraphs 1-9 are incorporated by reference

3. On or about December 27, 2017, in the District of Maryland and elsewhere, the
defendants,

KEVIN B. MERRILL and
JAY B. LEDFORD

did knowingly transfer, possess, and use, without lawful authority, a means of identification of
another person, that is, MERRILL and LEDFORD transferred, possessed, and used the name
and signature of an employee and official of Alta College, namely N.B., and the name and
signature of an employee and official of BBVA Compass Bank, namely P.G., which is personal
identifying information, during and in relation to Wire Fraud, 18 U.S.C. § 1343, as alleged in

Count Six of this lndictment.

18 U.s._C. § 1028A(a)(1), (c)(4); 18 U.s.C. § 2

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COUNT TEN
Monev Laundering Conspiracv

The Grand lury for the District of Maryland further charges:

l. From in and around January 2013 through the present, in the District of Maryland and
elsewhere, the defendants

KEVIN B. MERRILL and
JAY B. LEDFORD

did knowingly combine, conspire, and agree with each other and with other persons known and
unknown to the Grand Jury to commit offenses against the United States in violation of Title 18,
United States Code, Section 1956 and Section 1957, that is:

a. to knowingly conduct and attempt to conduct financial transactions affecting interstate
commerce, which transactions involved the proceeds of specified unlawful activity, that is, wire
fraud as described in Counts One - Eight, knowing that the transactions were designed in whole
or in part to conceal and disguise the nature, location, source, ownership, and control of the
proceeds of specified unlawful activity, and that while conducting and attempting to conduct
such financial transactions, knew that the property involved in the financial transactions
represented the proceeds of some form of unlawful activity, in violation of Title 18, United

'States Code,- Section 1956(a)(1)(B)(i); and

b. to knowingly engage and attempt to engage, in monetary transactions by, through, and
to a financial institution, adecting interstate commerce, in criminally derived property of a value
greater than $10,000, such property having been derived from a specified unlawful activity, that
is, wire fraud as described in Counts One - Eight, in violation of Title 18, United States Code,

Section 1957.

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MANNER AND MEANS OF THE MONEY LAUNDERING CONSPIRACY

2, lt was a part of the money laundering conspiracy for MERRILL and LEDFORD to
conceal the proceeds from the wire fraud oHenses through a purchase of real property.

3. lt was a part of the money laundering conspiracy for LEDFORD to manage the cash
flow of the wire fraud offenses

4. lt was a part of the money laundering conspiracy that when MERRILL decided to
acquire the property located at 1055 Spyglass Lane, Naples, Florida 34102, for an approximate
purchase price of $lO.S million, LEDFORD acted as MERRILL’s accountant in preparing and
explaining financial statements for MERRILL's businesses to the prospective mortgage lender.

5. lt was a part of the money laundering conspiracy for LEDFORD to transfer in
interstate commerce proceeds of the scheme to defraud for MERRILL's use in partially funding
MERRILL's purchase of 1055 Spyglass Lane, Naples, Florida 34102.

6. lt was a part of the money laundering conspiracy that on or about January 26, 2018,
LEDFORD transferred $l .3 million in interstate commerce from DeVille Asset Management
Limited's account ending in ***2485, at Bank of America, Colleyville, Texas to MERRILL's
Rhino Capital Holdings, LLC's account ending in ***2822 at PNC Bank, Lutherville, Maryland.

7. lt was a part of the money laundering conspiracy that on or about January 31, 2018,
LEDFORD transferred $3 million in interstate commerce from Riverwalk Financial
Corporation's account ending in ***8958 account at Bank of America, Colleyville, Texas to
MERRILL's Rhino Capital Holdings, LLC's account ending in ***2822 at PNC Bank,
Lutherville, Maryland

8. lt was a part of the money laundering conspiracy that on or about February 20, 2018,

MERRILL transferred $2,506,’_794.49 in interstate commerce from MERRILL’s Rhino Capital

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Holdings, LLC's account ending in ***2822, at PNC Bank, Lutherville, Maryland to account
ending in ***4701 at Finemark National Bank & Trust, Fort Myers, florida for the purchase of
1055 Spyglass Lane, Naples, FL, 34102.

9. lt was a part of the money laundering conspiracy that on or about February 21, 2018,
MERRILL transferred 82 million in interstate commerce from MERRILL's Rhino Capital
Holdings, LLC's account ending in ***2822 at PNC Bank, Lutherville, Maryland to account
ending in ***4701 at Finemark National Bank & Trust, Fort Myers, Florida for the purchase of

1055 Spyglass Lane, Naples, FL, 34102.

13 U.s.C. § 1956(h)

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COUNTS ELEVEN - FOURTEEN
Financial Transactions in Excess of $101000 in Fraud Proceeds
The Grand Jury for the District of Maryland further charges:

1. The allegations of Count Ten, Paragraphs 2-9 are incorporated by reference

2. On or about the dates set forth below, in the District of Maryland and elsewhere the
defendants

KEVIN B. MERRILL aan
JAY B. LEDFORD

did knowingly engage in a monetary transaction in criminally derived property having a value
greater than 810,000 and which was derived from specified unlawful activity, that is a wire fraud
conspiracy and wire fraud in Violation of 18 U.S.C. § 1349 and § 1343, as described in Counts
One - Eight of this lndictment, in that MERRILL and LEDFORD did withdraw and transfer

the sums set forth below through the bank accounts described below for the acquisition of 1055

Spyglass Lane, Naples, Florida 34102, which affected interstate commerce:

 

 

 

Count Date Sending Bank & Account Amount of l Receiving Bank &
Name & No. Transaction { Account No.
|
Eleven 1/26/ 18 LEDFORD's DeVille $1.3 million l MERRILL's Rhino
- Asset Management Ltd’s - Capital Holdings, LLC
Bank of America account l account ending in
ending in ***2435, ' ***2322 ar PNC Bank,
; ' Colleyville, TX ‘ Lutherville, MD
Twelve 1/31/18 § LEDFORD's Riverwalk $3 million l MERRILL's Rhino
l Financial Corporation’s _ Capital Holdings, LLC
account ending in ***8958 l account ending ***2822
at Bank of America, l at PNC Bank,

 

 

 

 

 

Coueyvine, rx - l Lurherviue, MD

 

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Count l Date Sending Bank & Account Amount of Receiving Bank & §
i Name & No. Transaction Account No. §
Thirteen § 2/20/ 18 ] MERRILL's Rhino Capital $2,506,794.49 i- Account ending in
| l Holdings, LLC’s account l ***4701 at Finemark
l ending in ***2822 at PNC National Bank & Trust,
j Bank, Lutherville, MD Fort Myers, Florida
l ,
Fourteen l 2/21/ 18 ; MERRILL's Rhino Capital $2 million Account ending in 4701
§ l Holdings, LLC’s account at Finemark National
1 l ending in ***2822 at PNC Bank & Trust, Fort l
l Myers, Florida t

 

 

18 U.s.c. § 1957; 18 U.s.C. § 2

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WIRE FRAUD FORFEI’_I`URE

The Grand Jury further finds that:

1. Pursuant to Rule 32.2, Fed. R. Crim. P., notice is given to the defendant KEVIN B.
MERRILL, that upon conviction of offenses in violation of 18 U.S.C. §§ 1349 and 1343 as alleged
in Counts One - Eight, the United States will seek forfeiture as part of any sentence of all property,
real and personal, which constitutes and is derived from proceeds that the defendant obtained
directly and indirectly from the offense, including, but not limited to, the following:

(a) a sum of money equal to the value of the proceeds of the offense retained by
MERRILL, which amount is at least 839 million;

2. As a result of the offenses set forth in Counts One - Eight, the defendant,

KEVIN B. MERRILL
shall forfeit to the United States all property, real or personal, which constitutes or is derived
from proceeds traceable to the conspiracy to commit wire fraud and the wire fraud offenses,
including but not limited to, the following:
`a. Real Property:

1. 1848 Circle Road, Towson, MD 21204;

2. 1055 Spyglass Lane, Naples, FL 34102;

3. 21776 sharp Rnad, Easron, MD 2160'1;

4. 531 Hampton Lane, Towson, MD 21204;

5. 3018 Susanne Court, Owings Mills, MD 21117; and

6. 1718 Greenspring Valley Road, Stevenson, MD 21153;

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b. Automobiles/Motorcycles:

 

10.

11.

12.

13.

14.

2014 Ford Explorer, VIN 1FM5KSGT7EGA78090, titled to Amanda Marie
Schlissler (Also Known As Amanda Merrill, Wife Of Kevin Merrill) in Maryland,
License Plate Number 5BK0031

2014 Lamborghini Aventador Roadster, VIN ZHWURI ZD4ELA02398, titled to l
Rhino Capital Holdings LLC ln Montana, License Plate Number 7SEVN7

2014 Mercedes-Benz S63, VlN WDDUG7JB1EA061984, titled to Rhino Capital
Holdings LLC ln Montana, License Plate Number 739152B

2015 BMW S1000R Motorcycle, VlN WB10D210XFZ352440, titled to Kevin
Bryan l\/lerrill in Maryland

2015 l-larley-Davidson VRSCDX Night Rod Special Edition Motorcycle, VIN
ll-lDlHl-IH18FC805081, titled to Kevin Bryan Merrill in Maryland

2016 Ferrari 488 Coupe, VIN ZFF79ALAXG0214388, historically titled to Rhino
Capital Holdings, LLC in Montana

2017 Audi RS 5.2 Plus Coupe, VIN WUAKBAFX1H7902028, titled to Rl'lino
Capital Holdings LLC in Montana, License Plate Number BST385

2017 Lamborghini Huracan Convertible, VIN ZHWURZZF] l-ILA07683,
historically titled to Rhino Capital Holdings, LLC ln Montana

2017 Land Range Rover, VIN SALGS5FE7HA341466, titled to Rhino Capital
Holdings LLC in Montana, License Plate Number BWC041

2017 Land Range Rover Sport, VlN SALWZZFE6HA145282, titled to Rhino
Capital Holdings LLC in Montana, License Plate Number BY8857

2017 Porsche 911 Turbo S, VIN WPOAD2A96HS]67075, titled to Rhino Capital
Holdings LLC in Montana, Lic'ense Plate Number BST540

2017 Rolls Royce Dawn Convertible, VIN SCA666D57HU107107, titled to
Rhino Capital Holdings LLC in Montana, License Plate Number CAV701

2017 Rolls Royce Wraith Coupe, VIN SCA665C58HUX86607, titled to Rhino
Capital Holdings LLC in Montana, License Plate Number BWC226

2018 McLaren 7208 Coupe, VIN SBM14DCA9.TW001142, titled to Rhino
Capital Holdings LLC in Montana, License Plate Number CAV699

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15.

16.

17.

18.

19.

20.

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25.

c. Boat

2008 Bugatti Veyron, VIN VF9SA25C78M795164, titled to‘Rhino Capital
Holdings LLC in Montana in 2018, License Plate Number CAV700

2013 Ferrari Califomia Convertible, VlN ZFF65TJA7D0195090, titled to Rhino
Capital Holdings LLC in Montana, License Plate Number 71158213

2014 BMW M6 Gran Coupe, VlN WBS6C9C51EDV73690, titled to Rhino
Capital Holdings LLC in Montana, License Plate Number 724257B

2014 Ferrari F12 Berlinetta, VlN ZFF674UFA2E0199037, titled to Rhino Capital
Holdings LLC in Montana

2014 Pagani l-luayra, VlN ZA9H11RAYYSF76034, titled to Rhino Capital
Holdings LLC in Montana, License Plate Number BZZ743

2015-Mercedes Benz S63, VlN WDDXJ7JB8FA000972, titled to Rhino Capital
Holdings LLC in Montana, License Plate Number 711582B

2015 Mercedes Benz 863, VlN WDDXJ7JB6FA001781, titled to Rhino Capital
Holdings LLC in Montana, License Plate Number BMV416

2017 Cadillac Escalade ESV, VIN 1GYS4JKJ7HR194939, titled to Rhino Capital
Holdings LLC in Montana, License Plate Number BWC034

2017 Lamborghini Aventador, VIN ZHWUT3ZDXHLA05923, titled to Rhino
Capital Holdings LLC in Montana, License Plate Ntnnber BSC624

2018 Ferrari 488 Spider, VIN ZFF80AMA4.10228310, titled to Rhino Capital
Holdings LLC in Montana, License Plate Number BZZ746

2018 Lamborghini l-luracan, VIN ZHWUS4ZF6JLA10746, titled to Rhino Capital
Holdings LLC in Montana, License Plate Number CEY700

1. 2018 Formula 350 Crossover Bowrider Sportcruiser, Hull Number (HIN)

TNRD1491C818, bearing registration number FL4747RP, titled in Florida
to Kevin B. Merrill

d. Miscellaneous

1. 'Cash Surrender Value of Guardian Policy Number 6921245 held in the name of

KEVIN MERRILL;

2. KEVIN_B. MERRILL's interest in the Gulfstream Aircraft G200, Serial Number:

152J Registration Number: N52AJ, Engines: Pratt & Whitney Canada Model
PW306A, Serial Numbers: PCE-CC0246 and PCE-CC0373 with others held
through Rhino Capital Holdings;

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3. A Platinum and Diamond Ring bought from and appraised by Dominion Jewelers:
Center stone consists of one radiant cut diamond weighing 5.10 cts, certified by
GIA report #2155084402 and side stones consist of 14 square radiant diamonds
weighing 4.20 cts total set into a platinum ladies engagement ring.

4. Seven (7) Richard Mille Watches all appraised by Dominion Jewelers in July &
August 2017.

' 3. Pursuant to Rule 32.2, Fed. R. Crim. P., notice is given to the defendant JAY B.
LEDFORD, that upon conviction of offenses in violation of 18 U.S.C. §§ 1349 and 1343 as
alleged in Counts One - Eight, the United States will seek forfeiture as part of any sentence of all
property, real and personal, which constitutes and is derived from proceeds that the defendant
obtained directly and indirectly from the offenses, including, but not limited to, the following:

(a) a sum of money equal to the value of the proceeds of the offense retained by g
LEDFORD, which amount is at least $34.6 million;

4. As a result of the offenses set forth in Counts One - Eight, the defendant,

JAY B. LEDFORD

shall forfeit to the United States all property, real or personal, which constitutes or is derived
from proceeds traceable to the conspiracy to commit wire fraud and the wire fraud offenses,
including but not limited to, the following:

a. Real Property:

1. 9017 Grove Crest Lane, Las Vegas, NV 89134;

2. 1132 Glade Road, Colleyville, TX 76034;

3. 1650 Cedar Hill Dallas, TX 75208;

1. 2016 Ferrari 488, VlN ZFF79ALA3G0217973, registered to J'BL Holdings,
LLC in Montana, bearing license plate number 778209B

2. 2016 Tesla Model S, VlN 5YJSA1E49GF155262, registered to Lalaine
Barretto Hughes in Nevada

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3. 2015 Bentley Flying Spur, VlN SCBET9ZA7FC042592, titled to Jay Brian
Ledford in Texas, license plate number FSJ7942

c. Miscellaneous:

l. A Platinum and Diamond Three Stone Ring purchased from, and appraised
by Eiseman Jewels, Dallas, Texas in December 2016; the ring is centered by
a 7.32 carat emerald cut diamond with two tapered baguette cut diamonds,
one on each side, which have a combined weight of 0.51 carats.
2. A Platinum and Diamond Line Bracelet purchased from and appraised by
Eiseman Jewels on December 26, 2016. A Platinum and Diamond Line
Bracelet set with forty seven emerald cut diamonds that have a combined
total weight of 23.26 carats.
3. A Breitling for Bentley, Bentley B06S watch, Serial Number:'431 1996.
5. lf any of the property described above, as a result of any act or omission of the
defendants:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute property.

28 U.s.c. § 2461(¢); 18 U.s.c. § 981(3)(1)(€); 18 U.s.c. § 1956(¢)(7); 18 U.s.C. § 1961(1);
21 u.s.C. §853(p) '

unfair K.Hnr " F’t" ‘L

United States Attorney

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